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PROB 12C - (Rev. D/NM-8/2014) 57674

UNITED STATES DISTRICT COURT

FOR THE
DISTRICT OF NEW MEXICO
Amended Petition for Revocation of Supervised Release

Name of Offender: Derek Chavez
Docket Number: 1084 1:09CR03366 -003 WJ
Assigned Judge: Honorable William P. Johnson, Chief United States District Judge
Date of Original Sentence: 2012-10-02
Original Offense: 18 U.S.C. 3: Accessory After the Fact
Original Sentence: BOP: 24 months; TSR: 3 years
Date Supervision 06/07/2018
Recommenced:
Date Supervision Expires: 06/06/2020
Other Court Action: On October 23, 2017, the defendant’s supervised release was revoked for

absconding from supervision and failing to obtain employment. The
defendant was sentenced to 56 days (Time Served) with 28 months of
supervised release to follow.

On May 31, 2018, the defendant’s supervised release was revoked for
absconding from supervision and failing to comply with substance abuse
treatment objectives. The defendant was sentenced to 3 months and 12 days
incarceration, followed by 24 months of supervised release.

 

PETITIONING THE COURT
To issue a summons.
*4mended to add a second violation of a Mandatory Condition while the current petition was held in abeyance.

U.S. Probation Officer of the Court, Erick Newton, alleges the offender has violated the following
condition(s) of supervised release.

Violation Nature of Noncompliance
Type
MC You must refrain from any unlawful use of a controlled substance. You must submit to one

drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

On December 3", and 9", of 2018, the defendant tested positive for Suboxone. On December
19, 2018, the probation officer asked the defendant if he had a valid prescription for Suboxone,
and the defendant stated he did not.

MC You must refrain from any unlawful use of a controlled substance. You must submit to one
(Amended) drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
 

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On February 12, 2019, the defendant tested positive for Suboxone. On February 19, 2019, the
probation officer asked the defendant if he had a valid prescription for Suboxone, and the
defendant stated he did not. The probation officer asked the defendant if he used Suboxone
illegally on, or about, February 12, 2019, and the defendant affirmed.

The maximum statutory penalty: 2 years imprisonment; 3 years supervised release. Underlying Class C Felony.
The revocation range of imprisonment: 3 to 9 months. CHC I. Grade C violation.

I declare under penalty of perjury that the foregoing is true and correct.

 

Executed on 02/20/2019.
Submitted: Approved: Phone Approval
aE —
Erick Newton Jack Burkhead
Sr. U.S. Probation Officer (505) 346-7274

Assistant U.S. Attorney

Date: 12/20/2018
